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                     EXHIBIT9
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Irv Ackelsberg

From:                                         Hewlett, Douglas E. < Douglas.Hewlett@arentfox.com >
Sent:                                         Thursday, February 3, 2022 11 :53 PM
To:                                           Irv Ackelsberg; Leslie Hurst; Tim Blood; Paul Arons; John Grogan
Cc:                                           Purcell, John S.
Subject:                                      Aliff, et al. v. Vervent, et al.: Outstanding Discovery Item #1



Good evening counsel,

Responding to Item #1 from the Outstanding Discovery List (TILA Disclosure Statement & Origination Fee for Plaintiff
Turrey): Vervent/FA does not have a TILA Disclosure Statement for Plaintiff Turrey. We understand such document
would have been generated and maintained by Deutsche Bank. Vervent/FA does have documentation supporting
Turrey's origination fee, which we will produce by early next week.

Thanks,
Doug


  Arent Fox                     Douglas E. Hewlett, Jr.
                                ASSOCIATE I ARENT FOX LLP

                                douglas.hewlett@arentfox.com I 213.443.7571 DIRECT
                                Bio I My Linkedln I Subscribe
                                555 West Fifth Street, 48th Floor, Los Angeles, CA 90013

                                Smarter Service. On March 1, we will become ArentFox Schiff. Learn More




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